       Case 1:18-cv-05320-GBD-SN Document 37 Filed 10/10/18 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

In re Terrorist Attacks on September 11,
2001                                                    03 MDL 1570 (GBD) (SN)




This filing relates to:

Jessica DeRubbio, et al. v. Islamic Republic of Iran, 18-CV-05306 (GBD) (SN)
Roberta Agyeman, et al. v. Islamic Republic of Iran, 18-CV-05320 (GBD) (SN)
Horace Morris, et al. v. Islamic Republic of Iran, 18-CV-05321 (GBD) (SN)
Laurence Schlissel, et al. v. Islamic Republic of Iran, 18-CV-05331 (GBD) (SN)
Bakahityar Kamardinova, et al. v. Islamic Republic of Iran, 18-CV-05339 (GBD) (SN)
Ades, et al. v. Islamic Republic of Iran, 18-CV-07306 (GBD) (SN)


                               ENTRY OF APPEARANCE


To The Clerk of the District Court:

               Kindly enter my appearance on behalf of the Plaintiffs in the above-

captioned matters.

October 9, 2018
                                      By: /s/ Bruce Strong
                                          Bruce Strong, Esquire

                                          Anderson Kill P.C.
                                          1251 Avenue of the Americas
                                          New York, NY 10020-1182
                                          Telephone: 212-278-1000
                                          Email: bstrong@andersonkill.com

                                          Attorneys for Plaintiffs




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       Case 1:18-cv-05320-GBD-SN Document 37 Filed 10/10/18 Page 2 of 2



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                              CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on October 9, 2018, I caused a true and correct copy of

the Entry of Appearance of Bruce Strong, Esquire to be served on all parties

electronically via the Court’s ECF system.

October 9, 2018
                                   By: /s/ Jerry S. Goldman
                                       Jerry S. Goldman, Esquire

                                        Anderson Kill P.C.
                                        1251 Avenue of the Americas
                                        New York, NY 10020-1182
                                        Telephone: 212-278-1000
                                        Email: jgoldman@andersonkill.com

                                        Attorneys for Plaintiffs




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